           Case
            Case2:16-cr-00052-GMN-CWH
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 1   OSVALDO E. FUMO, ESQ.
     Nevada Bar No. 5956
 2
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 3   601 Las Vegas Blvd. S.
     Las Vegas, NV 89101
 4   (702) 474-7554 Fax
 5
     (702) 474-4210
     Attorney for Defendant: Torrence Douglas
 6
                                UNITED STATES DISTRICT COURT
 7                                   DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,                     )   Case No.: 2:16-CR-00052-GMN-PAL
 9                                                 )
                                                   )
10                         Plaintiff,              )
                                                   )
11   vs.                                           )   MOTION AND ORDER FOR PRE-PLEA
                                                   )   AND PRESENTENCE INVESTIGATION
12                                                 )   REPORT
     TORRENCE DOUGLAS
                                                   )
13   ,                                             )
                   Defendant                       )
14                                                 )
15

16
              COMES NOW, Defendant Torrence Douglas, by and through his counsel of record,
17
     OSVALDO E. FUMO, ESQ., of the law firm of PITARO & FUMO, CHTD., hereby moves this
18
     Honorable Court for a Pre-Plea, Pre-Sentence Investgiation Report to be prepared by Federal
19
     Probation.
20
              This Motion is made and based upon all the papers and pleadings on file herein, the
21
     attached points and authorities in support hereof, and oral argument at the time of hearing, if
22
     deemed necessary by this Honorable Court.
23

24
              DATED: 12th day of December, 2016

25
                                                 PITARO & FUMO, CHTD.
26                                               /s/ Osvaldo E. Fumo, Esq.. .
27                                               OSVALDO E FUMO, ESQ

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     Case
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 1                   MEMORADUM OF POINTS AND AUTHORITIES
 2
     1. The Defendant Torrence Douglas (“Douglas”) is charged in four (4) Counts out of a
 3
        twenty-nine (29) count indictment filed against eight (8) separate defendants.       The
 4

 5
        Counts against Douglas charge conspiracy to distribute and distribution of a controlled

 6      substance. Douglas is unsure of his prior convictions and thus counsel is unable to
 7      definitively determine his criminal history category and whether he may be eligible for
 8
        Career Criminal treatment under the guidelines.
 9
     2. Determination of whether Douglass’ prior convictions subject him to Career Criminal
10

11      treatment is an important consideration of any plea negotiations and therefore

12      undersigned counsel respectfully requests that the Department of Probation conduct a
13
        pre-plea, pre-sentence investigation report to determine the Defendant’s criminal history
14
        category and whether Douglas is CCA eligible.
15
     3. Undersigned counsel has spoken to the U.S. Attorney Phillip Smith regarding this request
16

17      and he does not have any opposition to this request.

18

19
                                             PITARO & FUMO, CHTD.
20                                           /s/ Osvaldo E. Fumo, Esq. .
                                             OSVALDO E. FUMO, ESQ.
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                                               ORDER - 2
       Case
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 1                             CERTIFICATE OF SERVICE
 2
             On December 12, 2016, the undersigned caused a true and correct copy
 3
     of the aforementioned ORDER via the ECF system.
 4

 5                                            PITARO & FUMO, CHTD.
 6
                                              /s/ Osvaldo E. Fumo, Esq.      .
 7                                            Osvaldo E. Fumo, Esq.
 8                                            601 S. Las Vegas Blvd.
                                              Las Vegas, Nevada 89104
 9
                                              (702)474-7554 F: (702)474-4210
10                                            ozzie.fumolaw@gmail.com
11

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                                         ORDER - 3
           Case
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     Attorney for Defendant: Torrence Douglas
 6
                                UNITED STATES DISTRICT COURT
 7                                   DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,                    ) Case No.: 2:16-CR-00052-GMN-PAL
 9                                                )
                                                  )
10                         Plaintiff,             )
                                                  )
11   vs.                                          ) ORDER
                                                  )
12                                                )
     TORRENCE DOUGLAS
                                                  )
13   ,                                            )
                   Defendant                      )
14                                                )
15

16            IT IS HEREBY ORDERED that the Probation Department will prepare a Pre-Plea, Pre-
17
     Sentence Investigation Report on Defendant Torrence Douglas.
18
                    December
              Dated this the ___, 13,
                                  day2016
                                      of _________________________, 20__.
19

20

21                                                            ___________________________
                                                              US DISTRICT
                                                                 MAGISTRATECOURT JUDGE
22   Submitted by:
23   PITARO & FUMO, CHTD.
     /s/ Osvaldo E. Fumo, Esq.
24
     Osvaldo E. Fumo, Esq.
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28



                                                 ORDER - 4
